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                                                                      ...---~"-~".<--'. --~~-.-.-----.



                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
                                                                            JUN 16 2015              I

UNITED STATES OF AMERICA,                  CASE NO.

                      Plaintiff,
               vs.                         JUDGMENT OF DISMISSAL
NICOLE MARIE MADRUGA (5),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
    the reason that:

     an indictment has been filed in another case aga     the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__x__ the Court has granted the motion of the Government               dismissal, with
     prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the             fendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Superseding Information:

     18:1344 - Bank Fraud


          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: JUNE 16, 2015
